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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )                  8:08CR175
                         Plaintiff,                    )
                                                       )
        vs.                                            )                REPORT AND
                                                       )
JOHN GORDON and                                        )            RECOMMENDATION
LEE ADKINS,                                            )
                                                       )
                         Defendants.                   )


        This matter is before the court on the motions to suppress filed by defendant John
Gordon (Gordon) (Filing No. 44) and by defendant Lee Adkins (Adkins) (Filing No. 46).1
Gordon and Adkins are charged in the Indictment with other co-defendants with a
conspiracy to manufacture methamphetamine (Count I) in violation of 21 U.S.C. § 846 and
with the possession of pseudoephedrine with intent to manufacture methamphetamine
(Count II) in violation of 21 U.S.C. § 841(c)(1).
        Both defendants seek to suppress evidence obtained by area law enforcement
officers during a search of residences and vehicles in Plattsmouth, Nebraska, on March
6, 2008, pursuant to two search warrants issued by Sarpy County Judge Todd J. Hutton.
Gordon also seeks to suppress statements he made to law enforcement officers as fruits
of an illegal search.
          An evidentiary hearing was held on the motions on July 23, 2008. Gordon was
present in person with his counsel, Joseph F. Gross, Jr. Adkins was present with his
counsel, Jerry M. Hug. The government was represented by Assistant U.S. Attorney
Kimberly C. Bunjer and Danielle Savington, Senior Certified Law Clerk with the U.S.
Attorney’s Office. During the hearing, the court heard no testimony, but received into
evidence the following exhibits: (Exhibit 1) a search warrant for 10015 Hwy 75, Lot # 2,


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           As a convenience, this docum ent contains certain cross-docum ent hyperlinks to docum ents
previously filed in this case. This docum ent also contains links to the Nebraska local rules and legal citation
from the federal reporters. The hyperlinked docum ents appear in blue underlined text. Except with regard
to the local rules, access to the hyperlinked m aterial is subject to fees pursuant to user agreem ents. The
hyperlinks m ay be accessed without PACER fees by use of the public com puter term inal in the Clerk's office.
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Plattsmouth, Nebraska; (Exhibit 2) a search warrant for 2425 S. 15th St., Lot # 36,
Plattsmouth, Nebraska; and (Exhibit 3)2 an application and affidavit for search warrants.
After the hearing, the following additional exhibits were received in accordance with the
agreement of the parties at the hearing (Filing No. 54): (Exhibit 4) return for search warrant
in Exhibit 1; (Exhibit 5) return for search warrant in Exhibit 2; and (Exhibit 101) a summary
of a statement by Gordon. A transcript of the hearing (TR.) was filed on August 4, 2008
(Filing No. 56).


                                          FINDINGS OF FACT
        Both search warrants at issue before the court are based on the same March 5,
2008 application and affidavit of Detective David Walker of the Plattsmouth Police
Department, Plattsmouth, Nebraska and Detective Zeb Simones of the Bellevue Police
Department, Bellevue, Nebraska. The affidavit details the training and experience of the
officers in investigating clandestine labs manufacturing methamphetamine. Based upon
their training and experience, the officers are aware that individuals involved in the
distributing and manufacturing of methamphetamine keep methamphetamine, its
precursors, records of drug transactions and large sums of currency stored in residences
and automobiles. Additionally, the officers are aware that individuals involved in the
manufacturing of methamphetamine have learned law enforcement officers look for
individuals in possession of several precursors. Conspirators involved in the manufacturing
of methamphetamine will assign individuals with different responsibilities to avoid law
enforcement detection. Individuals will eventually gather all the necessary items to be
used collectively in the manufacture of methamphetamine. One individual’s assignment
may be to purchase over-the-counter cold tablets which contain pseudoephedrine, another
may be to collect lithium batteries, another may be to collect anhydrous ammonia, etc. The
affidavit set forth the activities of Joseph W. Hofler and Joseph W. Hofler, Jr., in collecting
various ingredients for the manufacturing of methamphetamine. The Hoflers used various

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          Ordinarily, exhibits received during a hearing of this type are not filed. However, as a convenience
the court includes a link to Exhibit 3 which is found on p. 2 of Filing No. 46-2, attached to the defendant
Adkins’s brief in support of the m otion to suppress. Future citations to Exhibit 3 will use the page num bering
located on the upper right hand corner (e.g., 13 to 29) of the exhibit found at Filing No. 46-2.

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associates in obtaining the ingredients, especially the purchasing of cold tablets containing
pseudoephedrine from various local pharmacy outlets. Among the named associates were
the defendants Gordon and Adkins. The affidavit specifically related to Gordon and Adkins
as set forth below:
                      From November 24th, 2007 until February 28th, 2008
              Lee ADKINS has been documented through pseudoephedrine
              logs obtained from pharmacies purchasing 11 boxes of cold
              tablets which contain 27.84 grams of pseudoephedrine from 5
              different stores located in Bellevue, NE. The amount of cold
              tablets ADKINS has obtained can potentially produce .94 oz.
              of finished Methamphetamine.
                      ADKINS purchases of cold tablets which contain
              pseudoephedrine were compared to Joseph HOFLER’S
              cellular telephone records which were subpoenaed by Bellevue
              Police. The cellular records show that between December
              14th, 2007 and January 1st, 2008 there were 38 telephone
              calls between Joseph HOFLER’S cellular phone and 402-296-
              5132. Det. Walker confirmed through the Plattsmouth 911
              Center that 402-296-5132 belongs to Rose Adkins at 311 S 8th
              St. Plattsmouth NE. Det. Walker knows that Rose Adkins is
              Lee ADKINS mother. Plattsmouth Police and Cass County
              Sheriffs Office records show that Lee ADKINS has lived with
              his mother at 311 S 8th St in the past. According to Omaha
              Public Powere [sic] District records, Lee ADKINS did not move
              to 10015 Hway 75 Lot #2 until February 5th, 2008. Based on
              the above information, the Affiant’s [sic] believe that the 38
              telephone calls would likely have been between Lee ADKINS
              and Joseph HOFLER. There has been no other connection
              established throughout the entire investigation between Rose
              Adkins and Joseph HOFLER.
                      Two of ADKINS’ cold tablet purchases were on
              December 17th, 2007 from separate stores in Bellevue NE.
              HOFLER’S cellular records show six calls between HOFLER
              and 402-296-5132 on December 17th, 2007. It is the affiant’s
              belief that these six calls would have been between HOFLER
              and ADKINS.
                      On January 1st, 2008, ADKINS purchased three boxes
              of cold tablets from three separate stores in Bellevue NE.
              HOFLER’S cellular records show one telephone call between
              HOFLER and 402-296-5231 on January 1st, 2008.
                      Pseudoephedrine records show that on November 24th,
              2007, at 1515 hrs, Lee ADKINS purchased one box of cold
              tablets from Wal-Mart on South 15th St. Bellevue NE.

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           Pseudoephedrine records also show that on November 24th,
           2007 at 1605, Joseph HOFLER purchased one box of cold
           [sic] from the HyVee located near 36th and L St. Omaha NE.
           Cellular records for these dates have been subpoenaed, but
           not yet received. According to pseudoephedrine records,
           ADKINS purchased two boxes of cold tablets from two
           separate stores in Bellevue NE on December 17th, 2007.
           Pseudoephdrine [sic] records also show cold tablets purchases
           by Paul FOSTER, Andy SMALLRIDGE, Jason CODR and
           Cheyenne HUFFMAN on December 17th, 2007.
                    Pseudoephderine [sic] records show that on January
           15th, 2008, Lee ADKINS purchased two boxes of cold tablets
           from two separate Bellevue NE pharmacies. Pseudoephedrine
           records also show that Cheri HOOSE purchased on [sic] box
           of cold tablets from a Bellevue, NE pharmacy on January 1st,
           2008.
                    Pseudoephedrine records show that on January 8th,
           2008, Joseph HOFLER and Catherine THOMAS purchased
           several boxes of cold tablets from Bellevue NE pharmacies.
           The records also show that Lee ADKINS purchased three
           boxes of cold tablets from three separate Bellevue NE
           pharmacies on January 9th, 2008. The records also show
           several cold tablet purchases by Andy SMALLRIDGE and one
           by Catherine THOMAS on January 10th, 2008.
                    Based on information obtained during this investigation,
           the Affiant's [sic] know Lee ADKINS, Andy SMALLRIDGE,
           Jason CODR, Paul FOSTER and Cheri HOOSE are all
           associates on [sic] JOSEPH HOFLER. Cheyenne HUFFMAN
           is believed to be Fred HUFMANN’s [sic] wife who is an
           associate of Jason CODR. Based on the pseudoephedrine
           logs detailed above, it is known that Lee ADKINS purchased
           cold tablets on the same days as CODR, HOOSE, HUFFMAN,
           and FOSTER. The pseudoephedrine logs establish that
           associates of Joseph HOFLER purchases [sic] cold tablets on
           the same day or within one day of each other.
                    On January 22nd, 2008 at approximately 0920 hours,
           Det. Walker was conducting surveillance on HOFLER’S
           apartment located at 1105 Ave. D Apt. #6 in Plattsmouth, NE
           when he observed ADKINS enter HOFLER’s apartment while
           HOFLER was fueling his vehicle at the Short Stop. HOFLER
           then returned to his apartment and at approximately 0924
           hours ADKlNS exited the apartment.
                    On February 4th, 2008 Bellevue Police, Plattsmouth
           Police, and Cass County Sheriff surveillance units were
           conducting surveillance at HOFLER’S apartment when

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               ADKINS was observed entering the apartment. Approximately
               2 minutes later ADKINS exited the apartment and left the area.
                       On February 26th, 2008 at approximately 2200 hours
               Bellevue Police, Plattsmouth Police, Cass County Sheriff
               surveillance units observed ADKlNS stop at HOFLER’S
               apartment for approximately 2 minutes.
                       Det. Walker knows from experience that ADKINS [sic]
               short-term visits are consistent with those who are involved in
               the trafficking of narcotics.
                       On-going surveillance shows ADKINS has no gainful
               employment and has a Nebraska criminal history, which
               includes arrests for Possession of a Controlled Substance in
               2004.
                       On February 28th, 2008 HOFLER was observed by Det.
               Simones and lnv. Watson visiting ADKINS’ residence located
               at 10015 Hwy 75 Lot #2, Plattsmouth, NE. A record from
               Omaha Public Power District indicates ADKINS is the new and
               current customer of 10015 Hwy 75 Lot #2 as of February 5th,
               2008.
                                             ***
                       On January 14th, 2008 surveillance unit followed
               HOFLER and Andrew SMALLRIDGE as they purchased cold
               tablets which contain pseudoephedrine from 4 different stores
               in Bellevue, NE. SMALLRIDGE was eventually dropped off at
               John GORDON’S residence located at 2425 S. 15th St. Lot
               #36 in Plattsmouth, NE. HOFLER then drove to his son,
               JOSEPH’S residence located at Lot #78 in the same trailer
               park and picked up JOSEPH.
See Filing No. 46-2 p. 2 - Ex. 3 - Aff. at pp. 19-21.
                      On January 14th, 2008 HOFLER and Andrew
               SMALLRIDGE were documented through pseudoephedrine
               logs obtained from pharmacies purchasing cold tablets which
               contain pseudoephedrine from 4 different stores in Bellevue,
               NE. Surveillance units followed HOFLER and SMALLRIDGE
               back to Plattsmouth where SMALLRIDGE was dropped off at
               the residence of John GORDON located at 2425 S. 15th St.
               Lot #36 in Plattsmouth, NE. Det. Walker observed
               SMALLRIDGE carrying a white plastic sack while he walked
               from HOFLER’s vehicle to GORDON’S trailer.
Id. at p. 24
                     Officer's [sic] verified NEW’S identity and the active
               warrants. NEW was placed under arrest and searched.
               During this search Officer Thomas located 1 box of Walgreen’s

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                brand cold tablets which contain pseudoephedrine and 6
                energizer lithium batteries.
                       NEW explained to the officer's [sic] the cold tablets were
                for his sick children and the batteries were for a flashlight.
                Officer Thomas asked NEW where he had been and NEW
                indicated he was at GORDON’S but said he didn’t get the pills
                or batteries from the [sic] there.
                       On various surveillance operations NEW has been seen
                frequenting GORDON’S trailer during daytime and nighttime
                hours.
                       On February 14th, 2008 surveillance units followed
                HOFLER and SMALLRIDGE as they purchased cold tablets
                which contain pseudoephedrine from ShopKo, Baker’s, and
                Walgreen’s in Bellevue, NE. HOFLER and SMALLRIDGE
                were followed back to Plattsmouth, NE where SMALLRIDGE
                was observed being dropped off near GORDON’S trailer at Lot
                #36.
Id. at p. 25.
       This single affidavit was used to support the request for a search warrant for
numerous locations, vehicles, and persons in the Plattsmouth area including Adkins’s
address of 10015 Hway 75 Lot #2, Plattsmouth, and Gordon’s address of 2425 S. 15th St.
Lot #36, Plattsmouth.


                                      LEGAL ANALYSIS
A.     Search Warrant
       An affidavit for a search warrant must contain probable cause of four ingredients:
time, crime, objects, and place. 2 Wayne R. LaFave, Search and Seizure, § 3.7(d) at 412
(4th ed. 2004). As the Supreme Court stated in Illinois v. Gates, 462 U.S. 213, 238
(1983): “The task of the issuing magistrate is simply to make a practical, common-sense
decision whether, given all the circumstances set forth in the affidavit before him, including
the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information, there is
a fair probability that contraband or evidence of a crime will be found in a particular place.”
Id.; United States v. Nguyen, 526 F. 3d 1129, 1133 (8th Cir. 2008). Thus, when viewing
a search warrant, the court must look at the totality of the circumstances set forth in the
affidavit. See id.; United States v. Hansel, 524 F.3d 841, 845 (8th Cir. 2008). “The duty


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of the judge issuing a search warrant is to make a ‘practical, common-sense decision’
whether, considering all the circumstances, a reasonable person could have reason to
suspect that evidence would be discovered. . . . Probable cause is a fair probability that
contraband evidence of a crime will be found in the location to be searched.” United
States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996); see Gates, 462 U.S. at 238. The
Eighth Circuit has explained the issuing magistrate’s obligation as follows:
              The task of the issuing magistrate is to make “a practical,
              common-sense decision whether, given all the
              circumstances set forth in the affidavit before him, including the
              ‘veracity’ and ‘basis of knowledge’ of persons supplying
              hearsay information, there is a fair probability that contraband
              or evidence of a crime will be found in a particular place. And
              the duty of a reviewing court is simply to ensure that the
              magistrate had a substantial basis for . . . concluding that
              probable cause existed.” Id. When the magistrate relied
              solely on the affidavit presented to him, “only that information
              which is found within the four corners of the affidavit may be
              considered in determining the existence of probable cause.”
              United States v. Leichtling, 684 F.2d 553, 555 (8th Cir.
              1982), cert. denied, 459 U.S. 1201 (1983). Affidavits must
              be read in “a common-sense and realistic fashion,” United
              States v. Cadwell, 864 F.2d 71, 74 (8th Cir. 1988), citing
              United States v. Ventresca, 380 U.S. 102, 108 (1965).
              “Deference is accorded an issuing magistrate’s probable cause
              determination . . .” United States v. Brown, 584 F.2d 252,
              256 (8th Cir. 1978), cert. denied, 440 U.S. 910 (1979).
United States v. Gladney, 48 F.3d 309, 312 (8th Cir. 1995) (emphasis added); see also
United States v. Spinosa, 982 F.2d 620 (1st Cir. 1992) (“The affidavit must be ‘viewed in
its entirety,’ and ‘must be given a common-sense and realistic, rather than a hyper
technical interpretation.’”). As the Eighth Circuit has stated, “Both circumstantial evidence,
United States v. Edmiston, 46 F.3d 786, 789 (8th Cir. 1995), and inferences, United
States v. Jones, 535 F.3d 886, 888 (8th Cir. 2008), may support probable cause.” United
States v. Swope, No. 07-3632, 2008 WL 4181152, at *5 (8th Cir. Sept. 12, 2008).
       “Probable cause must exist at the time of the issuance of the warrant, not merely
at some earlier time.” LaMorie, 100 F.3d at 554. However, since there is no bright-line
test for determining whether the information in an affidavit is stale, the statements in an

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affidavit must be judged by the particular circumstances of the case. “[T]he vitality of
probable cause cannot be quantified by simply counting the number of days between the
occurrence of the facts supplied and the issuance of the affidavit.” United States v.
Koelling, 992 F.2d 817, 822 (8th Cir. 1993).         Where continuing criminal activity is
suspected, the passage of time is less important. United States v. Ozar, 50 F.3d 1440,
1446 (8th Cir. 1995).
       The defendants argue the affidavit lacks enough information regarding whether their
specific residences or vehicles were linked to criminal activity to provide probable cause
for issuance of the search warrants. Additionally, the defendants contend they were
singled out for guilt merely by their association with the main targets of the law
enforcement investigation. However, the affidavit contains information that provides the
officers with a fair probability that contraband or evidence of a crime would be found at the
residences or within the vehicles of the defendants. Moreover, the defendants’ conduct
related to their residences and vehicles may have appeared innocent to a member of the
public when seen in isolation. However, such conduct in association with the Hofflers and
other co-defendants further justifies the officers’ suspicions that evidence reflecting
distribution of illicit drugs would be found at the residences and/or in the vehicles.
Specifically, for example, Adkins was known to have purchased numerous boxes of
pseudoephedrine tablets on several occasions, sometimes on the same dates as his co-
conspirators; Adkins and Hoffler were seen at each other’s residences for short-term visits;
Adkins has no known employment, but did have a criminal history.              Similarly, co-
conspirators were known to have purchased numerous boxes of pseudoephedrine tablets,
then go to Gordon’s residence with a plastic sack, and/or make short-term visits at
Gordon’s residence during the daytime and nighttime hours. These occurrences were
periodic in the months and days leading up to issuance of the search warrant. Under the
totality of the circumstances, the application and affidavit contains sufficient probable
cause to support issuance of the search warrants at issue here.




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B.     Leon Good Faith Exception
       Even assuming arguendo, that probable cause was lacking in sufficiency or
freshness, the Leon good faith exception would allow the admissibility of the evidence
seized. See United States v. Leon, 468 U.S. 897 (1984). In Leon, the Supreme Court
held “evidence obtained pursuant to a search warrant should not be excluded where the
officers executed the warrant ‘with an objectively reasonable reliance on the magistrate’s
determination of probable cause.’” LaMorie, 100 F.3d at 555. There are four exceptions
to this good faith rule:
              (1) where the issuing judicial officer was misled by information
              in an affidavit that the affiant knew was false or would have
              known was false except for his reckless disregard of the truth;
              (2) where the issuing officer “wholly abandoned his judicial
              role;” (3) where the affidavit supporting the warrant contained
              so few indicia of probable cause “as to render official belief in
              its existence entirely unreasonable;” and (4) where the warrant
              itself is so facially deficient that no executing officer could
              reasonably presume it to be valid.
Id. (internal citations omitted).
       None of those exceptions were present in this case. The defendants contend the
issuing Judge may have “rubber stamped” the affidavits for these defendants because
eleven search warrants were signed at the same time based on the single application and
affidavit. Other than the defendants’ bald assertion, there is no evidence the issuing judge
did not read and assess each warrant. Accordingly, the officers could reasonably rely upon
the search warrant as to the residences and vehicles of the defendants. Therefore the
defendants’ motions to suppress the results of the execution of the search warrants should
be denied.


C.     Gordon’s Statement
       Having found the search warrants were supported by adequate probable cause, the
court finds Gordon’s statement was not tainted by any “poisonous tree” as claimed by
Gordon under United States v. Wong Sun, 371 U.S. 471 (1963). Gordon’s motion to
suppress his statement should be denied.


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      IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
      1.     Gordon’s motion to suppress (Filing No. 44) be denied.
      2.     Adkins’s motion to suppress (Filing No. 46) be denied.


                                       ADMONITION
      Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) BUSINESS days after being served with
a copy of this Report and Recommendation. Failure to timely object may constitute a
waiver of any such objection. The brief in support of any objection shall be filed at the
time of filing such objection. Failure to file a brief in support of any objection may be
deemed an abandonment of the objection.
      DATED this 26th day of September, 2008.
                                                BY THE COURT:
                                                s/Thomas D. Thalken
                                                United States Magistrate Judge




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